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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov

 In re:                                                Chapter 11
                                                       Subchapter V
 HARRY BECK GREENHOUSE,
                                                       Case No. 21-12844-BKC-AJC
       Debtor.
 ______________________________________/

                         LEE GREENHOUSE’S RESPONSE IN
                  OPPOSITION TO POLYCHAIN’S MOTION TO COMPEL
                  AND REQUEST FOR SANCTIONS AGAINST POLYCHAIN

          Lee Greenhouse (“Lee”), by and through his undersigned attorneys, hereby objects and

responds to the Motion to Compel Production of Documents Pursuant to Subpoena filed by

Polychain Partners LLC and Polychain Fund I LP (collectively, “Polychain”).               Lee also

respectfully moves this Court to impose sanctions against Polychain for knowingly submitting a

false, misleading and baseless Motion to this Court in its ongoing efforts to harass Lee Greenhouse,

the father of Debtor Harry Beck Greenhouse. In support of this response and request for sanctions,

Lee states as follows:

                                         INTRODUCTION

          Lee is not a party to any adversary proceeding nor a creditor in Debtor’s bankruptcy

proceedings. Lee’s “crime” for which Polychain attempts to punish him is that he is the father of

Debtor, Harry Beck Greenhouse (“Harry”), and as this Court is well aware, Polychain’s disdain,

albeit misplaced, for Harry, is never-ending. Indeed, the Bankruptcy Court’s docket is replete

with motions and objections filed by Polychain designed to prevent Debtor from obtaining the

relief he seeks, as well as ongoing efforts by Polychain to conduct scorched earth discovery. See

e.g., Dkt. Nos. 27, 37, 43-45, 78, 107, 158, 160, 171, 204, 226, 254, 260, 290 and 308.

Polychain’s tactics have necessarily resulted in an increased expenditure of time and resources
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not only for the Debtor, but also for the various third-party targets of Polychain’s continuing

requests for the production of documents and Rule 2004 examinations.

       Lee has clearly been Polychain’s favorite target, as Polychain wrongly presumes that Lee

must be hiding or falsifying information because he is Debtor’s father. However, nothing could

be further from the actual truth, and Polychain knows it. Despite Polychain’s antics and tactics,

Lee has been the consummate, cooperative third-party, and has responded to all of Polychain’s

requests, produced all of the responsive documents in his possession and cooperated fully in

Polychain’s Rule 2004 examination. Lee has had no choice but to retain counsel to represent

him in these proceedings, and has already incurred more than $24,000 in attorneys’ fees (not

including the fees related to his response to this Motion) as a direct result of Polychain’s

relentless discovery requests and continued refusal to believe what they are being told by Lee

and his counsel. Lee’s good faith efforts to be thorough and responsive have not made a

difference. Indeed, no good deed goes unpunished.

       Polychain’s latest Motion to Compel, when stripped to its core, tells a one-sided,

disingenuous and misleading tale that should result in sanctions against Polychain. Falsely and

repeatedly, Polychain fails to mention (much less attach copies of) the eight (8) separate letters,

discovery responses and e-mails served upon Polychain’s counsel – all of which either

attach/include the production of responsive documents or fully explain that no responsive

documents exist. Polychain does not like Lee’s honest and candid answers, so it files a baseless

Motion that does nothing more than accuse Lee and his counsel of lying. Such a bad faith

Motion has no place in this or any other litigation proceeding, and Polychain’s conduct should

not be condoned. The imposition of sanctions against Polychain will serve to grant Lee some

financial relief and perhaps curb Polychain’s behavior going forward.



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                              LEE’S RESPONSES TO POLYCHAIN’S
                             FALSE AND MISLEADING STATEMENTS

        Throughout its Motion, Polychain tells less than half of the complete story, and what

Polychain does assert is misleading, if not completely false. As a result, Lee will address and

refute many of Polychain’s misstatements infra, and will support his position with his prior

deposition testimony and/or the correspondence previously served on Polychain.1

Polychain’s Allegation – On February 3, 2021, Harry executed a Power of Attorney Agreement
in favor of Lee, and terminated that POA on March 26, 2021. See Motion at ¶¶ 6-7.

       Lee’s Response – This allegation is true, but misleading. Polychain fails to tell the Court
that Lee took no actions whatsoever as Debtor’s POA, and there were also no written
communications regarding the POA. See L. Greenhouse Dep. Transcript at pp. 96, 103. A
complete copy of the transcript from Lee’s Rule 2004 Examination is attached hereto as Exhibit
A; see also Richard Saldinger’s May 25, 2021, e-mail to Polychain’s counsel, a copy of which is
attached as Exhibit B.

Polychain’s Allegation – “[Lee] manages a number of Debtor’s investments, special purpose
vehicles or joint ventures which invest in various investment funds managed by Union Square
Ventures. As the Nominee of the Greenhouse USV Joint Ventures, he almost certainly has
unique documents reflecting the value of the joint ventures’ interests in the USV funds.” See
Motion at ¶ 8.

        Lee’s Response – This allegation is misleading. At his deposition, Lee explained that the
only investments of Debtor that he has any interactions with are the five Greenhouse Union
Square Joint Ventures. Lee explained in great detail that each joint venture has an identical
structure, and follows the same transparent operating process. All capital contributed by the
Greenhouse family investors is deposited into a brokerage account (there is a separate brokerage
account dedicated to each Greenhouse Joint Venture), from which funds are paid to Union
Square Ventures and distributions are made out of that brokerage account (when distributions are
made to the Joint Venture from Union Square) to each investor of the Greenhouse Joint Venture
according to their percentage ownership share. All of the funds flowing in and out of the
brokerage accounts are a matter of record, and are also mirrored and confirmed by the Union
Square capital calls and distribution notices. All of the documents reflecting the same have been
produced to Polychain. See Ex. A at pp. 15-16, 45-56, 61-66, 125-135, 138-140, 143-145; see
also Richard Saldinger’s May 12, 2021, letter to Polychain’s counsel (Exhibit C); Mr.
Saldinger’s June 14, 2021, letter to Polychain’s counsel (Exhibit D) and Lee’s Objections and
Responses to Polychain’s Second Subpoena to Produce Documents (Exhibit E), all of which
evidence the extensive financial information and correspondence produced by Lee to Polychain.


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  In this response, Lee will not address ALL of Polychain’s misstatements. Lee’s decision not to refute certain
statements in the Motion should not be deemed to be a concession or an admission that the statement is accurate.

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Polychain’s Allegation – In response to Polychain’s First Subpoena seeking documents, Lee
made a “limited production of 59 documents responsive to Polychain’s Rule 2004 Requests
consisting of unsigned copies of agreements underlying the [Greenhouse Ventures] and Form K-
1 tax documents for each entity.” See Motion at ¶¶ 13-14.

        Lee’s Response – This allegation is false and misleading. Lee produced much more than
the K-1 statements and certain unsigned Greenhouse Joint Venture Agreements. In response to
Polychain’s First Subpoena, Lee produced all of the responsive documents including, but not
limited to, monthly Morgan Stanley account statements for each Greenhouse Joint Venture,
capital account statements for each Greenhouse Joint Venture, Merrill Lynch brokerage
statements and all of the fully executed Joint Venture agreements in his possession. See Ex. B.
Lee explained that he produced certain unsigned Joint Venture Agreements, as he did not readily
possess the fully executed version of such agreements due to his ongoing move across the
country resulting in such paper files being inaccessible. Id.

Polychain’s Allegations – “Lee admits he failed to conduct a reasonable search.” See Motion at
5. “[Lee] testified that he conducted the document collection entirely by himself without
utilizing keyword search terms and made his own determinations about whether documents were
responsive. He further testified that he did not search his hard drive on his personal computer for
responsive documents using any keyword search terms. He conducted a manual review of a
subset of his e-mails and paper files and did not search any cloud-based platforms that he uses,
nor any prior electronic devices that may still be in his possession.” Id. at ¶ 16.

         Lee’s Response – These allegations are also false and misleading, and Polychain again
knows that is the case. As explained by Lee during his deposition and as further explained in his
counsel’s June 9, 2021, letter (see Exhibit F), Lee’s search for relevant documents was thorough
and exhaustive, as he searched both of his Gmail accounts and all of his text messages. See Ex.
A at 10-13, 83-84. There was no need for Lee to conduct a “key word search” because Lee
literally looked through and examined every single e-mail between himself and Debtor searching
for any responsive communications. Id. He also did not have to search the hard drive of his
computer because Gmail (which Lee uses for e-mail) is a cloud-based service. Thus, Lee did
search through the only cloud-based platform that he uses. See Ex. F. Still further, Lee
explained that he did not possess any “prior electronic devices,” so there was nothing for him to
search in that regard. At bottom, Lee’s search and subsequent document production was entirely
consistent with the agreements reached between counsel limiting the scope of certain requests in
the Subpoena. See Exhs. C-F. It is both incredible and disingenuous that Polychain attached its
June 4, 2021, letter to the Motion, but failed to attach, or even mention, the lengthy June 9, 2021,
written response to the June 4 letter sent to Polychain’s counsel. Id.

Polychain’s Allegations – “Lee admitted to the existence of a number of responsive documents
that he did not produce.” See Motion at ¶ 17. “Polychain was unable to question [Lee] regarding
the details of Debtor’s investments, including their value, expected future distributions, liquidity
and transferability.” Id.

       Lee’s Response – These allegations are also false and misleading. During the
deposition, there were a small number of documents – not previously requested by Polychain –


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that were topics of discussion. In Mr. Saldinger’s June 9, 2021, letter (Ex. F), he addressed those
specific categories of newly requested documents, and, on June 14, 2021, Lee’s counsel
produced those documents to Polychain. See Exhibit D. Polychain again fails to tell the Court
about this supplemental production; rather, Polychain would have the Court believe that Lee
failed to make any supplemental production. Still further, the 150-page transcript from Lee’s
deposition demonstrates that Polychain thoroughly examined Lee regarding all topics of which
he might have personal knowledge including the interplay between the Union Square Ventures
and the Greenhouse Joint Ventures. See Ex. A at 43-56, 61-66, 70-71, 125-135, 138-145, 148-
149.

Polychain’s Allegations – “[Lee] produced only 17 documents in response to Polychain’s
[Second] Subpoena, including the Q4 2021 capital account statements for the Greenhouse USV
Joint Ventures, capital call letters from [Lee] to the members of the joint ventures, and two
heavily redacted letters from Union Square Ventures. [Lee’s] production included a lone
transaction confirmation for the $100,000 retainer he paid to Debtor’s bankruptcy counsel with
no related communications regarding the payment of that retainer.” See Motion at ¶ 21.

       Lee’s Response – Again, Polychain’s allegations are demonstrably misleading. Lee
produced all documents in his possession responsive to the Second Subpoena. See Exhibit E.
Consistent with its ongoing pattern, in its November 23, 2021, letter, Polychain again falsely
accused Lee of withholding responsive documents. In response, Lee’s counsel scheduled a
“meet and confer” conference with Polychain’s counsel in still another attempt to assure
Polychain that Lee’s document production was complete. Polychain, however, refused to
believe Lee’s counsel and made additional false accusations in a December 10, 2021, e-mail.
Polychain attaches its December 10 e-mail to its Motion, but does not attach Lee’s December
14, 2021, response. In this December 14, 2021, e-mail, Lee candidly and thoroughly refutes
Polychain’s false claims including the allegation that Lee withheld responsive e-mails. See
Exhibit G.2 The minimal information redacted reflects confidential information belonging to
Union Square Ventures. It is not Lee’s information to share with Polychain. Id.

    POLYCHAIN SHOULD BE SANCTIONED AND ITS MOTION SHOULD BE DENIED

        Apparently, this is not the first time that Polychain has used such bad faith tactics to

attack a party or a third-party who failed to provide the documents Polychain wanted, even when

such documents did not exist. Indeed, according to Debtor, the arbitrator in the Arbitration

between Polychain and Debtor sanctioned Polychain for “falsely accusing the Debtor of hiding

discovery and committing discovery violations of its own.” See Dkt. No. 56 at p. 4, ¶ 5.



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  Notably, Polychain does not attach to the Motion the two e-mails that Lee allegedly withheld. However, to prove
that these e-mails were both non-responsive and irrelevant, Lee’s counsel attached them to his December 14 e-mail.
See Ex. G.

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Polychain has clearly not been deterred by the sanctions imposed against it in the Arbitration. In

its latest Motion, Polychain again seeks to use its “deep pockets” to force Lee to incur

unnecessary attorneys’ fees and costs simply because Polychain refuses to accept that Lee and

his counsel are telling the truth when they tell Polychain that Lee has produced all responsive

documents in his possession. Respectfully, Polychain’s continued specious conduct cannot be

condoned or rewarded. The Motion should be denied, and Polychain should be sanctioned.

       After providing a series of false and misleading statements to this Court, Polychain

falsely and baldly complains that Lee has yet to produce:

       a. Documents or communications regarding any transfer or sale of any interest to
          any of the Greenhouse USV Joint Ventures;
       b. Documents or communications regarding any proposed or requested transfer
          of any interest in any of the Greenhouse USV Joint Ventures;
       c. Communications between Lee and any member of any Greenhouse USV Joint
          Venture regarding the transferability of the interests in the joint venture
          entities; and
       d. Documents and communications regarding the $100,000 retainer he paid to
          Debtor’s current bankruptcy counsel.

See Motion at ¶ 25. However, as Lee has repeatedly told Polychain, there are no documents

responsive to those document requests with the exception of a single document (previously

produced) reflecting the wire transfer of the $100,000 retainer. See Ex. E. Frustrated by the

truth, Polychain cries that Lee failed to “conduct a reasonable search” for responsive documents.

See Motion at ¶25. Lee is familiar with all of the correspondence regarding the Greenhouse Joint

Ventures, he reviewed literally all of his e-mails with Debtor and produced all of the responsive

documents. He also reviewed all of his communications with Union Square Ventures for the

relevant time period, and produced any responsive documents. See Exhs. D, F. The fact that Lee

has not produced documents responsive to certain requests does not mean that Lee failed to do a

thorough search or that such documents otherwise exist. Polychain’s argument is a classic non-



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sequitur, and it is clearly being made in bad faith and for the sole purpose of harassing Lee and

causing him to incur unnecessary fees and costs.

       Lastly, Polychain claims that Lee has refused to complete his deposition. That is also

false and misleading. First and foremost, Polychain and Lee agreed in advance of the

deposition that Lee would only be deposed for four hours on June 2, 2021. Although the

deposition did not last seven (7) hours, Polychain still exhausted Lee’s knowledge on all relevant

topics relating to Debtor and the Greenhouse Joint Ventures during the four-hour deposition. See

Ex. A. The documents that Lee has produced following his deposition were either not requested

in the original Subpoena or are simply updated financial information that Polychain also could

have obtained directly from Debtor.

       Second, and in any and all events, those additional documents speak for themselves and

do not require any explanation. Accordingly, on multiple occasions, Lee’s counsel has asked

Polychain’s counsel to explain why they need to depose Lee further based on his prior testimony

and the documents produced. Polychain has refused to provide any explanation whatsoever for

the need to depose Lee further. Again, if Polychain was acting in good faith, they would be able

to articulate the topics, if any existed, which are relevant and were not yet explored during Lee’s

prior deposition. Polychain’s silence in this regard is both telling and deafening.

       At bottom, the exhibits attached to this response demonstrate Lee’s full cooperation and

production of all responsive documents in his possession. These same exhibits should also serve

to demonstrate that Polychain has been dishonest with this Court. Incredibly, Polychain did not

attach any of these exhibits to its Motion or even provide the Court with some, limited (or any)

detail of Lee’s position. In so doing, Polychain necessarily forced Lee to incur additional fees

providing this written response and attaching the multiple exhibits necessary to provide this



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Court with a complete, full and accurate picture of what Lee and his counsel have done to date in

response to Polychain’s continuing document requests.

        Lee’s request for sanctions against Polychain is not made casually or cavalierly. Prior to

being served with the pending Motion, Lee has been forced to incur more than $24,000 in

attorneys’ fees in connection with his production of documents, his deposition and the need for

his counsel to correspond in writing continuously with Polychain. Even before responding to

this Motion, Lee has incurred attorneys’ fees solely based on Polychain’s false belief that Lee is

hiding responsive documents and information. Polychain’s ongoing disdain for Debtor, its

baseless theory that a conspiracy exists between Lee and Debtor and overall bad faith conduct

should not result in Lee incurring more attorneys’ fees simply to prove that he and his counsel

are telling the truth.

        Indeed, if the Federal Rules and the Bankruptcy Rules allowed for such conduct,

discovery would never end, and the Courts would be flooded with Motions to Compel whenever

one party simply chooses not to believe the responding party or his/her/its counsel. Fortunately,

Polychain’s improper conduct remains the exception rather than the rule. However, and in any

and all events, sanctions should be imposed against Polychain. At a minimum, Lee respectfully

requests that the Motion be denied, and Polychain be ordered to reimburse Lee for all of the

attorneys’ fees and costs he has incurred to date and will continue to incur in connection with

responding to Polychain’s Motion and appearing at the upcoming hearing on this Motion.




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Dated: February 14, 2022                       LEE GREENHOUSE

                                               /s/ Richard A. Saldinger

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                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on February 14, 2022
upon the following:

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